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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                      CIVIL NO. 20-1497(DSD/DTS)


Pharmaceutical Research and
Manufacturers of America,


             Plaintiff,

v.

Ronda Chakolis, James Bialke,
Amy Paradis, Rabih Nahas,
Michael Haag, Ben Maisenbach,
John M. Zwier, Barbara Droher Kline,
and Kendra Metz, in their official
capacities as members of the
Minnesota Board of Pharmacy,

             Defendants.



     This matter is before the court upon the motion to dismiss by

defendants. Based on a review of the file, record, and proceedings

herein, and for the following reasons, the motion is denied.



                               BACKGROUND

     This longstanding dispute arises out of the 6Alec Smith

Insulin Affordability Act (Act).         Am. Compl. ¶ 1.           Plaintiff

Pharmaceutical Research and Manufacturers of America (PhRMA) is a

nonprofit corporation that represents pharmaceutical companies and

serves as the pharmaceutical industry’s “principal public policy

advocate.”    Id. ¶¶ 13, 15.   Its member companies include Eli Lilly
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and Company, Novo Nordisk Inc., and Sanofi, which collectively

manufacture most of the insulin sold in Minnesota and the United

States. Id. ¶ 16. Defendants are members of the Board of Pharmacy,

named only in their official capacities, who enforce the Act.                Id.

¶ 18.   The Act requires manufacturers to provide insulin for free

to Minnesota residents who meet certain criteria.              Id. ¶¶ 59-67;

see Minn. Stat. § 151.74.

      PhRMA claims it will incur significant expenses by being

forced to give away free insulin as set forth in the Act.                    Id.

¶ 69.    PhRMA also claims that it will be unlawfully subject to

penalties if it does not comply with the Act.           Id. ¶ 76.

      On June 30, 2020, PhRMA filed this suit alleging that the Act

violates the Takings Clause of the Fifth Amendment.            Compl. ¶¶ 80-

85.   PhRMA also asserted that one of the Act’s exemptions violates

the Commerce Clause, but it later withdrew that claim as moot.

See ECF No.72, at 3 n.1.

      Early in the case, defendants moved to dismiss the complaint

for lack of subject matter jurisdiction and for failure to state

a claim.   The court granted the motion after concluding that PhRMA

lacked standing.      ECF No. 81.        PhRMA appealed and the Eighth

Circuit Court of Appeals reversed and remanded. The Eighth Circuit

specifically held that PhRMA has standing and may seek equitable



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relief on behalf of its members.          Pharm. Rsch. & Mfrs. Of Am. v.

Williams, 64 F.4th 932, 945-48 (8th Cir. 2023). The Eighth Circuit

also concluded that PhRMA alleges a per se, physical taking rather

than a regulatory taking, which means that an “ad hoc factual

inquiry” as to the impact of the taking on each of PhRMA’s members

is unnecessary.       Id. at 947-48.       Given that ruling, the issue

before the court was whether the Act constitutes a per se taking

of private property for public use without just compensation in

violation of the Fifth Amendment.

       Thereafter, in May 2024, the Minnesota legislature amended

the law in two relevant ways.        First, the Act now allows PhRMA’s

members to seek compensation for the insulin they supply under the

Act.       Am. Compl. ¶ 10; Minn. Stat. § 151.74, subdivs. 3(h) and

6(h).      Second, the legislature now requires insulin manufacturers

to pay a $100,000 annual registration fee, beginning on November

1, 2024.      Am. Compl. ¶¶ 11, 82; Minn. Stat. § 151.741, subdivs.

1(c) and 2. 1    The registration fee must be paid in to the insulin

safety net program to cover the Board of Pharmacy’s costs incurred

in “assessing the collecting the registration fee ... and in




       1  Manufacturers may request an exemption from the
registration fee, but PhRMA’s members would not qualify. See Minn.
Stat. § 151.741, subdiv. 2(b); Am. Compl. ¶ 85.

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administering” the program. 2     Minn. Stat. § 151.741, subdiv. 4.

     These changes prompted PhRMA to file an amended complaint,

alleging that the registration fee serves as an “offset” to any

payments PhRMA members may receive under the amended act, and thus

constitutes a continuing violation of the Takings Clause.            See Am.

Compl.   So, although the legal claim remains the same, the issue

is now focused on whether the registration fee constitutes a taking

without just compensation.        Defendants now move to dismiss the

amended complaint.



                              DISCUSSION

I.   Standard of Review

     To survive a motion to dismiss for failure to state a claim,

“‘a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.’”

Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).              “A claim

has facial plausibility when the plaintiff [has pleaded] factual

content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.”             Iqbal,



     2  The new registration fee is “in addition to the annual
licensing fees manufacturers must pay to obtain a license to sell
prescription medicines in Minnesota.” Am. Compl. ¶ 82.

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556 U.S. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

556 (2007)).       Although a complaint need not contain detailed

factual allegations, it must raise a right to relief above the

speculative level.       Twombly, 550 U.S. at 555.               “[L]abels and

conclusions or a formulaic recitation of the elements of a cause

of action” are not sufficient to state a claim.                 Iqbal, 556 U.S.

at 678 (citation and internal quotation marks omitted).

II.   Registration Fee

      Although the parties have raised numerous issues in their

briefing    and   supplemental     submissions,    the   dispositive        issue

before the court is whether PhRMA has plausibly alleged that the

registration fee serves as an offset to the compensation the

manufacturers are entitled to receive under the Act, and thus

constitutes a taking under the Constitution.           The court finds that

PhRMA’s amended complaint has stated such a claim.

      Defendants    argue   that    the   registration      fee      cannot     be

considered in the context of the Act, because it derives from a

separate statute.      Although technically true, the provisions at

issue in both statutes were enacted at the same time and are

plainly meant to work together.           Indeed, the registration fee

statute, Minn. Stat. § 151.741, expressly references the Act,

Minn. Stat. § 151.74, and its relevant amendments:



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  •   The   registration       fee,   including         any     late     fees,     must     be

      deposited      in    the   insulin         safety        net     program      account

      established under § 151.74.              Id. § 151.741, subdiv. 3(b).

  •   The insulin safety net program account is “appropriated” to

      the   Board    of    Pharmacy   in       “assessing        and     collecting        the

      registration fee” and in “administering the insulin safety

      net program under section 151.74.”                    Id. § 151.741, subdiv.

      4(2).

      Given this, the court finds that PhRMA has plausibly alleged

that the amendments together fail to provide its members with just

compensation.       Specifically, PhRMA persuasively alleges that the

registration      fee     is   designed     to      –   and     does     –     offset      the

compensation its members are entitled to under the Act.

      Defendants argue that if the registration fee is considered

in this context, the registration fee is severable under its terms

and therefore may be deemed unconstitutional without affecting the

Act’s other provisions.            Whether that is the case here is a

question for another day.

      Because the court concludes that the registration fee should

be considered in the context of PhRMA’s claim, it must also

conclude that PhRMA has standing to challenge the Act’s recent

amendments.       Indeed,      PhRMA’s    members        are    the    targets       of    the


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amendments, and they have adequately alleged concrete harm flowing

therefrom.   See St. Paul Area Chamber of Com. v. Gaertner, 439

F.3d 481, 485 (8th Cir. 2006) (citation omitted) (“When a statute

is challenged by a party who is a target or object of the statute’s

prohibitions,   “there    is    ordinarily    little      question    that     the

[statute] has caused him injury.”).

     The   court   will   not   consider      at   this   time    whether      the

settlement in separate case between the State of Minnesota and one

of PhRMA’s members has any bearing on the merits of this case.

See ECF Nos. 164, 166.



                                CONCLUSION

     Accordingly, based on above, IT IS HEREBY ORDERED that the

motion to dismiss [ECF No. 151] is denied.



Dated: June 3, 2025                s/David S. Doty
                                   David S. Doty, Judge
                                   United States District Court




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